
By the Court.—Freedman, . J.
No evidence was adduced at the trial of any defect or want of repair or secret danger in the machinery complained of. The machinery appeared to have been in every way suitable and adequate for the purposes for which it was used. Whatever danger there was arose from coming into contact with some one of the parts while in motion. But all the parts of the machinery, and their movements, were fully exposed to view. Under these circumstances, and the plaintiff having been engaged upon said machinery for some time, a specific instruction by the employer to the plaintiff not to permit her hand to be caught between the moving machinery, was unnecessary, and the absence of such an instruction constitutes no ground of liability. An employee in accepting or continuing in service with a knowledge of the character and position of the machinery, the dangers of which are apparent, and from which he may be liable to receive injury, assumes the risks incident to the employment, and the fact that he is a minor, does *222not change the rule. Upon the principle laid down and enforced in Hickey v. Taaffe, 105 N. Y. 36. the complaint was properly dismissed.
The judgment should be affirmed with costs. •
Sedgwick, Ch. J., concurred.
